92 F.3d 1195
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Benny NUSSBAUMER, Defendant-Appellant.
    No. CV-95-00191-REJ.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 22, 1996.*Decided July 30, 1996.
    
      1
      Before:  GOODWIN and SCHROEDER, Circuit Judges, and ARMSTRONG,** District Judge.
    
    
      2
      ORDER***
    
    
      3
      Defendant Benny Nussbaumer appeals the denial of his 28 U.S.C. § 2255 motion to vacate his criminal conviction for manufacture of marijuana.  He contends that the conviction violated double jeopardy because of the civil forfeiture of his currency.  We deferred submission pending the decision of the United States Supreme Court in  United States v. Ursery, Nos. 95-345, 95-346, 1996 U.S. S.Ct. WL 340815 (U.S. June 24, 1996).  In  Ursery, the Court held that civil forfeitures are "neither 'punishment' nor criminal for purposes of the Double Jeopardy Clause."   Id. at 14.   We order the case submitted, and affirm on the ground that it is controlled by  Ursery.
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  Circuit Rule 34-4
      
      
        **
         Honorable Saundra Brown Armstrong, United States District Judge for the Northern District of California, sitting by designation
      
      
        ***
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.Rule 36-3
      
    
    